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 1 BRUCE LOCKE
   Moss & Locke
 2 555 University Avenue, Ste 170
   Sacramento, California 95825
 3
   Attorney for Defendant
 4 DONALD EDGECOMB
 5
 6
                           IN THE UNITED STATES DISTRICT COURT
 7
                                 EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                    §
10                                               §
   V.                                            §       CRIMINAL NO. S-06-200 MCE
11                                               §
   DONALD EDGECOMB,                              §       STIPULATION AND ORDER
12                                               §       RESCHEDULING THE TRIAL
                                                 §       CONFIRMATION HEARING
13                                               §
   _____________________________________
14
          IT IS HEREBY STIPULATED AND AGREED between the United States of America and
15
   the defendant, Donald Edgecomb, through their respective attorneys, that the trial confirmation
16
   hearing currently set for October 2, 2008 is rescheduled for October 9, 2008 at 9:00 a.m. Time
17
   between October 2, 2008 and October 9, 2008 is excluded from the Speedy Trial Act calculation
18
   pursuant to local code T-4 to allow time for trial preparation by counsel.
19
                                                         Respectfully submitted,
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21
     Dated: September 22, 2008                        /S/ Bruce Locke_____________
22                                                    Bruce Locke
                                                      Attorney for Donald Edgecomb
23
24 ///
25 ///
26 ///
27 ///
28 ///
      Case 2:06-cr-00200-MCE Document 112 Filed 09/24/08 Page 2 of 2


 1 Dated: September 22, 2008                  /S/ Bruce Locke for Philip Ferrari
                                              PHILIP FERRARI
 2                                            Assistant United States Attorney
 3
 4
 5
 6
 7        IT IS SO ORDERED.
 8
 9   Dated: September 23, 2008

10                                     ________________________________
                                       MORRISON C. ENGLAND, JR.
11                                     UNITED STATES DISTRICT JUDGE
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